 

FIEGER FIEGER SCHWARTZ & KENNEY A PROFESSIONAL CORPORATION « ATTORNEYS AND COUNSELORS AT LAW * 19390 WEST TEN MILE ROAD * SOUTHFIELD MICHIGAN 48075 2463 » TELEPHONE (248) 355 5555 * FAX (248) 355 548

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF M ON

SOUTHERN DI —
ROBERT McEWEN and KIM McEWEN; 0 0 ™ V2 69 Or.
STACY BROWN and GARY BROWN; YY

RICHARD KINSTLE and LAURA KINSTLE; CLASS ACTION
and ALL OTHERSSIMILARLY SITVAT ED
JULIAN ABELE COOK

   

 

Plaintiffs,
Case No. 00 -
vs. HON.

MAGISTRATE JUDGE CARLSON

WOLVERINE PIPE LINE CO.,
a Delaware Corporation,

Defendant,

 

GEOFFREY N. FIEGER (P30441)
PAUL W. BROSCHAY (P36267)

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Fieger, Fieger, Schwartz & Kenney 3s mh
Attorneys for Plaintiffs = - eof om
19390 W. Ten Mile Road 4 fs ry 4
Southfield, Michigan 48075 4 8
(248) 355-5555 Sm
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Cc PLAINT AND DEMAND FOR JURY TRIAL Mt

NOW COME the Plamntiffs, Robert McEwen, Kin McEwen, Stacy Brown and Gary
Brown, by and through therr attorneys, Fieger, Fieger, Schwartz & Kenney, and for their cause
of action against the above named Defendant, state as follows

I The Plaintiffs, Robert McEwen and Kim McEwen are husband and wife and
reside at 118 Burt Road in Blackman Twp 1n Jackson County, Michigan in real property they
own

2 The Plaintiffs, Gary Brown and Stacy Brown are husband and wife and reside

 

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they own

control over a certain petroleum pipeline located in Jackson County at all relevant times

impractical

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members of the class that predominate over questions affecting individual members

claims of the Destgnated Class

interests of the Class

2

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at 116 Burt Road in Blackman Twp 1m Jackson County, Michigan in real property they own
3 The Plaintiffs, Richard Kinstle and Laura Kinstle are husband and wife and

reside at 5155.N Granite in Blackman Twp , in Jackson County, Michigan 1n real property

3 The Defendant Wolverine Pipe Line Co (Wolverine) 1s a Delaware Corp

licensed and authorized to do business in the State of Michi gan and is the owner of and had

4 Upon information and belief, the Designated Class of Plaintiffs number in

excess of four hundred (400) and therefore are so numerous that the joined of ali members 15

5 The present action presents questions of law and fact common to all the

6 The claims asserted by Plaintiffs Robert McEwen, Kim McEwen, Gary Brown,

Stacy Brown, Richard Kinstle and Laura Kinstle, the Class Representattves are typical of the

7. Plaintiffs Robert McEwen, Kim McEwen, Gary Brown, Stacy Brown, Richard

Kinstle and Laura Kinstle and their attorneys will fairly and adequately assert and protect the

8 The maintenance of the present cause as a Class Action will be superior to other
available methods of adjudication in promoting the convenient admunustration of justice, The
interests of the Plaintiffs are comcident with, and not antagonistic to those in the class In

addition, Plaintiffs are represented by counsel who are experienced and competent in the

 
 

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complex class actions
9 The amount in controversy exceeds $75,000 exclusive of costs and interest and

this case 1s otherwise within the jurisdiction of this Court upon complete diversity.

COUNT I - NUISANCE

Plaintiffs hereby reallege each and every allegation contained in Paragraphs 1 through
9 as if fully stated herein

10 On June 7, 2000, the Defendant Wolverine owned and operated an underground
petroleum pipeline that carned gasoline to various locations from out of state and which ran
near or on the real property owned by the Plaintrffs

11 On or about June 7, 2000, the petroleum pipeline ruptured causing hundreds
of thousands of gallons of gasoline to enter and scep into the ground, streams, drains, and
waterways near the pipeline

12 The gasoline which escaped the pipeline entered the real property owned by the
Plaintiffs and contaminated the land and water supply

13. The flow of gasoline onto the Plaintiffs real property constituted a nuisance

14 Residents of the area of contaminationand the Plaintiffs and the class similarly
situated experienced massive damages and property loss as a result of the gasoline spill

15 The contamination of the real property as well as the water supply has caused
a massive health hazard to humans, pets, foliage and wildlife which live near the area

16 The flow of gasoline onto Plaintiffs’ property constitutes an obvious and

unreasonable invasion of Plamntiffs’ use and enjoyment and of their property and constitutes

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a nutsance, per se

17 The Defendant’s conduct, in improperly constructing, engineering and
supervising the construction of the pipeline is the direct and proximate cause of the pollution
of Plaintiffs’ real property

18 The Defendant knew or should have known that, by virtue of their improper
conduct as described herein, the substancem: grating from its prpeline was substantially certain
to cause harm to Plaintiffs’ property

19 The Defendant acted in a willful and/or reckless and/or grossly negligent
disregard of Plaintiffs’ rights and enjoyment of their property

20. The gasoline spill caused immediate, permanent, irreparable injury to property
owners in general and the Plaintiffs in particular, as follows’

a Contamination of their water supply including
wells and septic systems,

b Loss of personal property,

c Loss of personal security,

d Loss of real property including plants, trees and
vegetation,

e Damaged or destroyed appliances, hot water

tanks, furnaces, etc ,

f Breached basement walls and foundation and
structural damage,
g Substantral diminution value to home and
property,
h Illnesses, including viruses and rashes, and
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1 Any other losses discoverable through the
course of this litigation

WHEREFORE, 1t is respectfully requested that this Honorable Court enter a
Judgment in favor of the Plaintiffs and all other members of the class In an amount exceeding
Sevent-Five Thousand Dollars ($75,000 00)

COUNT II - TRESPASS

Plaintiffs hereby repeat and reallege each and every allegation contaimed in paragraphs
1 through 20 as 1f fully set forth here:

21 On or about June 7, 2000, Plaintiffs, Robert McEwen, Kim McEwen, Gary
Brown and Stacy Brown, and the class similarly situated, noticed that gasoline had flowed
onto their real property.

22 Defendant intended, or knew or had substantial reason to know, that the
aforementioned improper and negligent actions and defective conditions as described above
would physically intrude upon Plaintiffs’ property, in a manner in which 1t did not naturally
do

23 The aforementioned actions on the part of the Defendant amounts to deliberate
physical invasion of Plaintiffs’ property and property nghts, tantamount to the continuous
physical taking of the damaged portion of the property

24 The pipeline project and resulting trespass and nuisance, caused immediate,
permanent, irreparable injury to property owners in general and the Plaintiffs in particular, as
follows

a Contamination of their water supply including
wells and septic systems,

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b Loss of personal property;
c Loss of personal security,

Loss of real property including plants, trees and
vegetation,

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e Damaged or destroyed apphances, hot water
tanks, furnaces, etc ,

f Breached basement walls and foundation and
structural damage,

g Substantial diminution value to home and
property,

h Illnesses, including viruses and rashes, and

1 Any other losses discoverable through the

course of thts litigation

WHEREFORE, it 1s respectfully requested that this Honorable Court enter a
judgment in favor of the Plaintiffs and all other members of the class in an amount exceeding

Seventy-Five Thousand Dollars ($75,000 00)

COUNT TT
NEGLIGENCE AND GROSS NEGLIGENCE

Plaintrffs hereby repeat and reallege each and every allegation contained in paragraphs
1 through 24 as if fully set forth herein

25 The Defendant Wolverine owed Plaintiffs and the class similarly situated, a
duty of reasonable care in the engineering, construction, supervision, inspection and operation

of the petroleum pipeline

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26 Defendant Wolverine owed Plaintiffs and the class sumilarly situated, a duty
to engineer and construct petroleum the pipeline which would at all times be safe and not
rupture Further, said Defendant owed a duty to inspect so as to discover unreasonable
conditions which might cause leaks or ruptures

27‘ The Defendant Wolverine breached their duty to Plaintiffs in the following
ways

a Failure to properly design, construct, inspect
and operate the fuel line so that 1t would not

rupture and leak

b Others acts that will become known through
discovery

28 Plaintiffs and those similarly situated were at all times relevant hereto, free of
any actions of contributory negligence

29 As a direct and proximate cause of the complained acts and activities of
Defendants and/or their agents, Plaintrffs and those similarly situated, did suffer injury and

harm as follows

a Loss of personal property,
b Loss of personal security,
c Damages or destroyed apphances, hot water

tanks, furnaces, etc ,

d Breached basement walls and foundation and
structural damage,

e Substantial diminution value to home and
property,
f. Illnesses, including viruses and rashes, and
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g Any other losses discoverable through the
course of this litigation

WHEREFORE, it 1s respectfully requested that this Honorable Court enter a
judgment in favor of the Plaintiffs and all other members of the class in an amount exceeding
Seventy-Five Thousand Dollars ($75,000 00)

UNT IV
VIOLATION OF MCLA 324,3109
Plaintiffs hereby repeat and reallege each and every allegation contained in
paragraphs 1 through 29 as if fully set forth herein

30 The discharging of gasoline into the waters at or near the real property owned
by the Plaintiffs violates the provisions of the Water Resources Commission Act, MCLA
324 3109 and 1s prima facie evidence of the existence of a public nutsance caused or created
by the Defendant Wolverine

31 The gasoline discharge and violation of MCLA 324 3109 caused immediate,
permanent, irreparable injury to property owners in general and the Plaintiffs in particular, as
follows

a Contammation of their water supply including
wells and septic systems,

b Loss of personal property,

c Loss of personal security,
d Loss of real property including plants, trees and
vegetation,
e Damaged or destroyed appliances, hot water
tanks, furnaces, etc ;
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f Breached basement walls and foundation and
structural damage,

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g Substantial diminution value to home and
property,

h I!lnesses, including viruses and rashes, and

i Any other losses discoverable through the

course of this lrtigation

WHEREFORE, it 1s respectfully requested that this Honorable Court enter a
judgment in favor of the Plaintiffs and all other members of the class in an amount exceeding
Seventy-Five Dollars ($75,000 00)

COUNT V
Plaintiffs hereby repeat and reallege each and every allegation contatned in

paragraphs | through 32 as if fully set forth herein

33 The gasoline spill caused damage, devastationand destructtonto trees and other
vegetation owned by the Plaintiffs in violation of MCLA 600 2919 and as such the Plaintiffs
are entitled to treble damages

WHEREFORE, it 1s respectfully requested that this Honorable Court enter a

Judgment in favor of the Plaintiffs and all other members of the class in an amount exceeding

Seventy-Five Dollars ($75,000 00)

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DEMAND FOR JURY TRIAL

Plaintiffs hereby request a trial by jury

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Respectfully requested,

FIEGER, FIEGER, SCHWARTZ & KENNEY

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PAUL W BROSCHAY P3
Attorneys for Plaintiffs
19390 W Ten Mile Road
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DATED June 14, 2000

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